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       Telephone: (949) 333-7777
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   6   Attorneys for Chapter 7 Trustee,
       RICHARD A. MARSHACK
   7
                                       UNITED STATES BANKRUPTCY COURT
   8
                        CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
   9

  10   In re                                                     Case No. 8:18-bk-13311-SC

  11   RUBY’S DINER, INC., a California                          Chapter 7
       corporation, et al.,
  12                                                             (Jointly Administered with Case Nos.:
                          Debtor.                                8:18-bk-13197-SC; 8:18-bk-13198-SC;
  13   Affects:                                                  8:18-bk-13199-SC; 8:18-bk-13200-SC;
                                                                 8:18-bk-13201-SC; 8:18-bk-13202-SC)
  14          ALL DEBTORS
                                                                 NOTICE OF CONTINUED HEARING
  15          RUBY’S DINER, INC., ONLY                          ON DE NOVO LEGAL PC’s FIRST
                                                                 AND FINAL ADMINISTRATIVE
  16      RUBY’S SOCAL, DINERS, LLC,                            PROFESSIONAL FEE APPLICATION
           ONLY
  17      RUBY’S QUALITY DINERS, LLC,                           Original Hearing
       ONLY                                                      Date: December 15, 2021
  18                                                             Time: 11:00 a.m.
              RUBY’S HUNTINGTON BEACH,                          Ctrm: 5C
  19           LTD. ONLY
                                                                 Continued Hearing
  20          RUBY’S LAGUNA HILLS, LTD.                         Date: January 19, 2022
               ONLY                                              Time: 11:00 a.m.
  21                                                             Ctrm: 5C
              RUBY’S OCEANSIDE, LTD, ONLY                       Location: Zoom.Gov1
  22
              RUBY’S PALM SPRINGS, LTD.
  23           ONLY

  24   ///
  25

  26    Judge Clarkson will continue utilizing ZoomGov in a hybrid format holding the majority of hearings by video,
        with an option for in-person hearings for evidentiary hearings and trials. Parties are directed to review Judge
  27    Clarkson’s self-calendaring instructions for calendaring hearings, either by ZoomGov or in-person. ZoomGov:
        Video and audio connection information for each hearing will be provided on Judge Clarkson's publicly posted
  28    hearing calendar, which may be viewed online at: http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC, and then
        selecting “Judge Clarkson” from the tab on the left-hand side of the page.

                                                        1
             NOTICE OF CONTINUED HEARING ON DE NOVO LEGAL PC ADMINISTRATIVE PROFESSIONAL FEE
                                               APPLICATION
       4858-0561-1272v.1-1015-134
Case 8:18-bk-13311-SC               Doc 1174 Filed 12/29/21 Entered 12/29/21 16:53:57          Desc
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   1 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

   2 JUDGE, THE OFFICE OF THE UNTIED STATES TRUSTEE, AND ALL INTERESTED

   3 PARTIES:

   4            PLEASE TAKE NOTICE that Court has continued the hearing on the First and Final Fee

   5 Application for Allowance of Fees and Costs filed by De Novo Legal PC as Intellectual Property

   6 Counsel, filed on November 24, 2021, as Dk. No. 1154, to January 19, 2022, at 11:00 a.m., in

   7 the above-entitled court.

   8

   9 DATED: December 29, 2021                            MARSHACK HAYS LLP
  10
                                                         By:    /s/ D. Edward Hays
  11                                                           D. EDWARD HAYS
                                                               LAILA MASUD
  12                                                           Attorneys for the Chapter 7 Trustee
                                                               RICHARD A. MARSHACK
  13

  14

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                                                     2
            NOTICE OF CONTINUED HEARING ON DE NOVO LEGAL PC ADMINISTRATIVE PROFESSIONAL FEE
                                              APPLICATION
       4858-0561-1272v.1-1015-134
       Case 8:18-bk-13311-SC                     Doc 1174 Filed 12/29/21 Entered 12/29/21 16:53:57                                       Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: NOTICE OF CONTINUED HEARING ON DE NOVO LEGAL
PC’s FIRST AND FINAL ADMINISTRATIVE PROFESSIONAL FEE APPLICATION will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
December 29, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On December 29, 2021, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on December 29, 2021, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE SCOTT C. CLARKSON
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
RONALD REAGAN FEDERAL BUILDING AND COURTHOUSE
411 WEST FOURTH STREET, SUITE 5130 / COURTROOM 5C
SANTA ANA, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  December 29, 2021                         Cynthia Bastida                                      /s/ Cynthia Bastida
  Date                                      Printed Name                                         Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4819-2935-5410, v. 1
       Case 8:18-bk-13311-SC                     Doc 1174 Filed 12/29/21 Entered 12/29/21 16:53:57                                       Desc
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR DEBTOR RUBY’S DINER, INC., A CALIFORNIA CORPORATION; INTERESTED PARTY
       DOUGLAS CAVANAUGH; AND INTERESTED PARTY RALPH KOSMIDES: Leo A Bautista
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       ralphk@cox.net, dcavanaugh@bcccmgmt.com
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       cbeatty@millerbarondess.com, aransom@millerbarondess.com, docket@millerbarondess.com,
       lperry@millerbarondess.com, jvogel@millerbarondess.com
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       CAFÉ LLC; AND DEFENDANT SHAKE SHACK CRYSTAL COVE LLC: Stephen C Biggs sbiggs@smith-lc.com,
       kdavenport@smith-lc.com
     ATTORNEY GEORGE B BLACKMAR: George B Blackmar gblackmar@bpslaw.net
     INTERESTED PARTY COURTESY NEF: Ori S Blumenfeld Ori@MarguliesFaithLaw.com,
       Helen@MarguliesFaithLaw.com; Angela@MarguliesFaithLaw.com; Vicky@MarguliesFaithLaw.com
     ATTORNEY FOR CREDITOR STAR-WEST PARKWAY MALL, LP: Dustin P Branch
       branchd@ballardspahr.com, carolod@ballardspahr.com; hubenb@ballardspahr.com
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     ATTORNEY FOR INTERESTED PARTY PETER MASTAN: Christopher Celentino
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       KOSMIDES: Carol Chow carol.chow@ffslaw.com, easter.santamaria@ffslaw.com
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     ATTORNEY FOR INTERESTED PARTY PETER MASTAN: Ashleigh A Danker Ashleigh.danker@dinsmore.com,
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     ATTORNEY FOR CREDITOR US FOODS, INC: Aaron Davis aaron.davis@bryancave.com,
       kat.flaherty@bryancave.com
     INTERESTED PARTY COURTESY NEF: Caroline Djang caroline.djang@bbklaw.com, C190@ecfcbis.com;
       sansanee.wells@bbklaw.com; wilma.escalante@bbklaw.com
     ATTORNEY FOR CREDITOR SAN DIEGO COUNTY TREASURER-TAX COLLECTOR: Laura E Dolan
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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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        ATTORNEY FOR CREDITOR COMMITTEE WINTHROP COUCHOT GOLUBOW HOLLANDER LLP: Garrick A
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         CALIFORNIA LIMITED PARTNERSHIP; DEBTOR’S RUBY’S LAGUNA HILLS, LTD., A CALIFORNIA LIMITED
         PARTNERSHIP; DEBTOR RUBY’S OCEANSIDE LTD., A CALIFORNIA LIMITED PARTNERSHIP; DEBTOR
         RUBY’S PALM SPRINGS, LTD., A CALIFORNIA LIMITED PARTNERSHIP; DEBTOR RUBY’S QUALITY
         DINERS, LLC, A DELAWARE LIMITED LIABILITLY COMPANY; DEBTOR RUBY’S SOCAL DINERS, LLC, A
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         CAFÉ LLC; AND DEFENDANT SHAKE SHACK CRYSTAL COVE LLC: Steven C Smith ssmith@smith-lc.com,
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         Treglia Jr ltreglia@murtaughlaw.com, lhull@murtaughlaw.com
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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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        ATTORNEY FOR CREDITOR PILLSBURY WINTHROP SHAW PITTMAN LLP: Matthew S Walker
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        ATTORNEY FOR CREDITOR US FOODS, INC.: Sharon Z. Weiss sharon.weiss@bclplaw.com,
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        INTERESTED PARTY COURTESY NEF: Christopher K.S. Wong christopher.wong@arentfox.com,
         yvonne.li@arentfox.com

2. SERVED BY UNITED STATES MAIL: CONTINUED:
 MAIL REDIRECTED TO TRUSTEE    MAIL REDIRECTED TO TRUSTEE                                                   MAIL REDIRECTED TO TRUSTEE
 DEBTOR                        DEBTOR                                                                       DEBTOR
 RUBY'S DINER, INC., A         RUBY'S SOCAL DINERS, LLC, A                                                  RUBY'S QUALITY DINERS, LLC, A
 CALIFORNIA CORPOR             DELAWARE LI                                                                  DELAWARE
 4100 MACARTHUR BLVD.          4100 MACARTHUR BLVD STE 310                                                  4100 MACARTHUR BLVD. STE 310
 SUITE 310                     NEWPORT BEACH, CA 92660-2050                                                 NEWPORT BEACH, CA 92660-2050
 NEWPORT BEACH, CA 92660-2050

 MAIL REDIRECTED TO TRUSTEE                        MAIL REDIRECTED TO TRUSTEE                               MAIL REDIRECTED TO TRUSTEE
 DEBTOR                                            DEBTOR                                                   DEBTOR
 RUBY'S HUNTINGTON BEACH,                          RUBY'S LAGUNA HILLS, LTD. A                              RUBY'S OCEANSIDE LTD., A
 LTD., A CALIFO                                    CALIFORNIA                                               CALIFORNIA LIM
 4100 MACARTHUR BLVD STE 310                       4100 MACARTHUR BLVD. STE 310                             4100 MACARTHUR BLVD STE 310
 NEWPORT BEACH, CA 92660-2050                      NEWPORT BEACH, CA 92660-2050                             NEWPORT BEACH, CA 92660-2050

 MAIL REDIRECTED TO TRUSTEE                        20 LARGEST CREDITOR - RUBY'S                             20 LARGEST CREDITOR - RUBY'S
 DEBTOR                                            DINER INC.                                               DINER INC.
 RUBY'S PALM SPRINGS, LTD., A                      BENCHMARK HOSPITALITY INC.                               CALIFORNIA RESTAURANT
 CALIFORNIA                                        JOHN FISHER                                              MUTUAL
 4100 MACARTHUR BLVD STE 310                       31781 CAMINO CAPISTRANO                                  BENEFIT CORPORATION
 NEWPORT BEACH, CA 92660-2050                      SAN JUAN CAPISTRANO, CA 92675-                           DAVID JOHNSON AGENT
                                                   3226                                                     430 N VINEYARD AVE SUITE 102
                                                                                                            ONTARIO, CA 91764-5453

 20 LARGEST CREDITOR - RUBY'S                      RTD 06/15/20 UTF                                         RTD 11/18/20 UTF
 DINER INC.                                        20 LARGEST CREDITOR - RUBY'S                             20 LARGEST CREDITOR - RUBY'S
 CROUDACE & DIETRICH LLP                           DINER INC.                                               DINER INC.
 OFFICER DIRECTOR MANAGER                          DIMITRI'S RESTAURANT INC                                 EAT AT JOES RESTAURANT INC.
 OR AGENT                                          JOHN GANTES AND GEORGE GANTES                            JOE CAMPBELL
 2151 MICHELSON DRIVE SUITE                        30252 TOMAS                                              18 BLUE JAY
 162                                               SUITE 200                                                ALISO VIEJO, CA 92656-1870
 IRVINE CA 92612-0305                              RANCHO SANTA MARGARITA, CA
                                                   92688-2135

 RTD 08/25/20 UTF                                  20 LARGEST CREDITOR - RUBY'S                             20 LARGEST CREDITOR - RUBY'S
 20 LARGEST CREDITOR - RUBY'S                      DINER INC.                                               DINER INC.
 DINER INC.                                        EMANUEL AND JEAN GLASS                                   GLASSRATNER ADVISORY &
 EMANUEL AND JEAN GLASS                            176 MIRA DEL OESTE                                       CAPITAL GRP
 36 CAMINO KATIA                                   SAN CLEMENTE, CA 92673                                   OFFICER DIRECTOR MANAGER OR
 SAN CLEMENTE, CA 92672-9420                                                                                AGENT
                                                                                                            19800 MACARTHUR BLVD
                                                                                                            SUITE 820
                                                                                                            IRVINE, CA 92612-2427


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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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 20 LARGEST CREDITOR - RUBY'S                      20 LARGEST CREDITOR - RUBY'S                             20 LARGEST CREDITOR - RUBY'S
 DINER INC.                                        DINER INC.                                               DINER INC.
 JOHN F AND ELIZABETH KNIGHT                       JOHN P AND KATHLEEN H TEELE                              KOHUT & KOHUT LLP C/O JACKSON
 JOHN AND ELIZAGETH KNIGHT                         THE TEELE FAMILY TRUST                                   TIDUS
 TRUST                                             1917 YACHT PURITAN                                       RONALD KOHUT PARTNER
 DTD 01/06/2016                                    NEWPORT BEACH, CA 92660-6716                             2030 MAIN STREET
 167 BAY SHORE AVENUE                                                                                       12TH FLOOR
 LONG BEACH, CA 90803-3452                                                                                  IRVINE, CA 92614-7219

 20 LARGEST CREDITOR - RUBY'S                      20 LARGEST CREDITOR - RUBY'S                             RTD 06/05/20 UTF
 DINER INC.                                        DINER INC.                                               20 LARGEST CREDITOR - RUBY'S
 MARY ELIN AND MARK H ELLIS                        MICHAEL AND KATHRYN MUNZ                                 DINER INC.
 ELLIS SURVIVORS TRUST                             MUNZ FAMILY TRUST                                        PAUL AND BARBARA J PEBBLES
 34811 CALLE FORTUNA                               520 AVOCADO AVENUE                                       11862 JOHN AVE
 CAPISTRANO BEACH, CA 92624-                       CORONA DEL MAR, CA 92625-1918                            GARDEN GROVE, CA 92840-3718
 1560

 20 LARGEST CREDITOR - RUBY'S                      RTD 10/29/20 UTF                                         20 LARGEST CREDITOR - RUBY'S
 DINER INC.                                        20 LARGEST CREDITOR - RUBY'S                             DINER INC.
 RUBY'S DINER CITADEL LLC/                         DINER INC.                                               SNELL & WILMER LLP
 EUREKA FOODS LLC                                  RUBY'S DINER ORANGE DEPOT LLC                            OFFICER DIRECTOR MANAGER OR
 STEVEN L CRAIG                                    JOHN A FISHER AND FABIO RUSSO                            AGENT
 4100 MACARTHUR BLVD. SUITE                        AND                                                      600 ANTON BLVD
 200                                               JOE CAMPBELL                                             SUITE 1400
 NEWPORT BEACH, CA 92660-2064                      1640 ORD WAY                                             COSTA MESA, CA 92626-7689
                                                   OCEANSIDE, CA 92056-1500

 20 LARGEST CREDITOR - RUBY'S                      RTD 08/09/21 UTF                                         20 LARGEST CREDITOR - RUBY'S
 DINER INC.                                        20 LARGEST CREDITOR - RUBY'S                             DINER INC.
 US FOODS - LA MIRADA                              DINER INC.                                               WEILAND GOLDEN GOODRICH LLP
 ATTN EVALYN FRAZIER ELSTON                        WARREN AND SHEILA NEWMAN                                 F/K/A LOBEL WEILAND GOLDEN
 15155 NORTHAM STREET                              NEWMAN FAMILY TRUST                                      FRIEDMAN
 LA MIRADA, CA 90638-5754                          11911 LAWLER STREET                                      MICHAEL WEILAND, PARTNER
                                                   LOS ANGELES, CA 90066-2009                               650 TOWN CENTER DRIVE, SUITE
                                                                                                            600
                                                                                                            COSTA MESA, CA 92626-7121

 20 LARGEST CREDITOR - RUBY'S                      RTD 12/29/20 UTF                                         RTD 09/22/20 UTF
 DINER INC.                                        SECURED CREDITOR                                         SECURED CREDITOR
 WILLIAM C TAORMINA TRUSTEE                        C & C PARTNERSHIP                                        CREDIT MANAGEMENT
 OF THE                                            RONALD CLEAR, PARTNER                                    ASSOCIATION DBA CREDIT
 TAORMINA REV TRUST DTD                            56 TESLA                                                 MANAGERS ASSOCIATION
 7/26/1983                                         IRVINE, CA 92618-4603                                    JULIET CHURCHILL, CALIFORNIA
 128 W SYCAMORE                                                                                             REGISTERED AGENT
 ANAHEIM, CA 92805-2603                                                                                     111 N MARYLAND AVE, SUITE 200
                                                                                                            GLENDALE, CA 91206




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
4819-2935-5410, v. 1
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 RTD 06/05/20 SEE NEW ADDR                         NEW ADDR USPS 06/05/20                                   SECURED CREDITOR
 SECURED CREDITOR                                  SECURED CREDITOR                                         CREDIT MANAGERS ASSOCIATION
 CREDIT MANAGEMENT                                 CREDIT MANAGEMENT ASSOCIATION                            KIMBERLY LAMBERTY, PRESIDENT
 ASSOCIATION DBA CREDIT                            PO BOX 750114                                            303 NORTH GLEN OAK BLVD, SUITE
 MANAGERS ASSOCIATION                              LAS VEGAS NV 89136-0114                                  200
 KIMBERLY A. LAMBERTY,                                                                                      BURBANK, CA 91502
 NEVADA REGISTERED AGENT
 3110 W CHEYENNE AVE, SUITE
 100
 N LAS VEGAS, NV 89032

 INTERESTED PARTY / EXECUTIVE                      INTERESTED PARTY / SPECIAL                               INTERESTED PARTY / SPECIAL
 VP OF OPERATIONS                                  NOTICE                                                   NOTICE
 TAD BELSHE                                        CALIFORNIA ATTORNEY GENERAL                              CALIFORNIA DEPARTMENT OF
 TRN MANAGEMENT                                    XAVIER BACERRA                                           JUSTICE
 25316 STAYSAIL DRIVE                              1300 I STREET                                            XAVIER BECERRA, ATTORNEY
 DANA POINT, CA 92629                              SUITE 1740                                               GENERAL
                                                   SACRAMENTO, CA 95814-2954                                300 S. SPRING STREET
                                                                                                            SUITE 1700
                                                                                                            LOS ANGELES, CA 90013-1256

 INTERESTED PARTY / SPECIAL                        INTERESTED PARTY / SPECIAL                               INTERESTED PARTY / SPECIAL
 NOTICE / POC ADDRESS                              NOTICE / POC ADDRESS                                     NOTICE / POC ADDRESS
 CALIFORNIA DEPATERMENT OF                         EMPLOYMENT DEVELOPMENT DEPT.                             FRANCHISE TAX BOARD
 TAX AND FEE ADMINISTRATION                        BANKRUPTCY GROUP MIC 92 E                                BANKRUPTCY
 COLLECTIONS SUPPORT                               PO BOX 826880                                            SECTION MS: A-340
 BUREAU, MIC: 55                                   SACRAMENTO, CA 94280-0001                                PO BOX 2952
 PO BOX 942879                                                                                              SACRAMENTO, CA 95812-2952
 SACRAMENTO, CA 94279-0055

 INTERESTED PARTY / SPECIAL                        INTERESTED PARTY / SPECIAL                               INTERESTED PARTY / SPECIAL
 NOTICE                                            NOTICE / POC ADDRESS                                     NOTICE
 FRANCHISE TAX BOARD CHIEF                         INTERNAL REVENUE SVC                                     INTERNAL REVENUE SVC
 COUNSEL                                           CENTRALIZED INSOLVENCY                                   INSOLVENCY STOP 5022
 C/O GENERAL COUNSEL                               OPERATION                                                300 N LOS ANGELES ST, RM 406
 SECTION                                           PO BOX 7346                                              LOS ANGELES, CA 90012
 PO BOX 1720, MS: A-260                            PHILADELPHIA, PA 19101-7346
 RANCHO CORDOVA CA 95741-
 1720

 INTERESTED PARTY / SPECIAL                        INTERESTED PARTY / SPECIAL                               RTD 09/11/20 UTF
 NOTICE                                            NOTICE                                                   INTERESTED PARTY / SPECIAL
 INTERNAL REVENUE SVC                              INTERNAL REVENUE SVC                                     NOTICE
 OFFICE OF CHIEF COUNSEL                           GI CARTER LOUIS OR OTHER AGENT                           INTERNAL REVENUE SVC
 10TH STREET AND                                   PO BOX 145595                                            PO BOX 21126
 PENNSYLVANIA AVE NW                               STOP 8420G                                               PHILADELPHIA, PA 19114
 WASHINGTON DC 20530                               CINCINNATI, OH 45250-5585




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 RTD 07/17/20 UTF                                  INTERESTED PARTY / SPECIAL                               INTERESTED PARTY / SPECIAL
 INTERESTED PARTY / SPECIAL                        NOTICE                                                   NOTICE
 NOTICE                                            INTERNAL REVENUE SVC                                     INTERNAL REVENUE SVC AGENT
 INTERNAL REVENUE SVC                              BEN FRANKLIN STATION                                     2970 MARKET ST
 PO BOX 21126                                      PO BOX 683                                               MAIL STOP 5-Q30133
 DPN 781                                           WASHINGTON, DC 20044                                     PHILADELPHIA, PA 19104-5016
 PHILADELPHIA, PA 19114

 INTERESTED PARTY / SPECIAL                        INTERESTED PARTY / SPECIAL                               INTERESTED PARTY / SPECIAL
 NOTICE                                            NOTICE                                                   NOTICE
 UNITED STATES ATTORNEY'S                          UNITED STATES DEPT. OF JUSTICE                           US SECURTIES & EXCHANGE
 OFFICE                                            BEN FRANKLIN STATION                                     COMMISSION
 300 NORTH LOS ANGELES ST                          PO BOX 683                                               ATTN: BANKRUPTCY COUNSEL
 FEDERAL BUILDING, ROOM 7516                       WASHINGTON DC 20044                                      444 SOUTH FLOWER STREET,
 LOS ANGELES, CA 90012                                                                                      SUITE 900
                                                                                                            LOS ANGELES, CA 90071

 CREDITOR / RFSN                                   CREDITOR / RFSN                                          CREDITOR / RFSN
 OPUS BANK                                         OPUS BANK                                                PLAZA BONITA LLC
 DAVID M. GUESS                                    ANNETTE W. JARVIS                                        & MISSION VALLEY
 GREENBERG TRAURIG LLP                             GREENBERG TRAURIG LLP                                    SHOPPINGTOWN LLC
 18565 JAMBOREE ROAD, SUITE                        222 SOUTH MAIN STREET, 5TH FLOOR                         C/O GEORGE B. BLACKMAR, ESQ.,
 500                                               SALT LAKE CITY, UT 84101                                 BLACKMAR PRINCIPE &
 IRVINE, CA 92612                                                                                           SCHMELTER APC
                                                                                                            600 B STREET SUITE 2250
                                                                                                            SAN DIEGO, CA 92101

 CREDITOR / RFSN / POC
 ADDRESS
 SAN DIEGO COUNTY
 TREASURER-TAX COLLECTOR
 ATTN: BK DESK
 1600 PACIFIC HIGHWAY ROOM
 162
 SAN DIEGO, CA 92101-2477




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